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 8                            UNITED STATES DISTRICT COURT
 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                  EASTERN DIVISION
11    INNOVATIVE NUTRACEUTICALS,                  No. íFYíí-*%í6+.
      LLC,
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                 Plaintiff,                       ORDER EXTENDING TIME TO
13                                                RESPOND TO FIRST AMENDED
                        v.                        COMPLAINT
14
      UNITED STATES OF AMERICA,
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                 Defendant.
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     Case 5:18-cv-01400-JGB-SHK Document 33 Filed 05/16/19 Page 2 of 2 Page ID #:208




 1          Having received the parties’ SECOND STIPULATION TO EXTEND TIME TO
 2    RESPOND TO FIRST AMENDED COMPLAINT, and for good cause shown,
 3          IT IS HEREBY ORDERED THAT:
 4          1.    Defendant’s time to respond to the First Amended Complaint shall be
 5    extended to July 16, 2019.
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 7     Dated: May 16, 2019
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 9                                           HONO
                                             HONORABLE
                                                 ORABLE JUDGEE JJESUS
                                                                 ESUS G. BERNAL
                                                                         BERNA
10                                           UNIT
                                                TED STATES DISTRICT JUDGE
                                             UNITED
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12
       Presented by:
13
       NICOLA T. HANNA
14     United States Attorney
       DAVID M. HARRIS
15     Assistant United States Attorney
       Chief, Civil Division
16     JOANNE S. OSINOFF
       Assistant United States Attorney
17     Chief, General Civil Section
18
19
          /s/
20     DANIEL O. BLAU
       Assistant United States Attorney
21
       Attorneys for Defendant
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